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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,          )
                                )
        Plaintiff,              )
                                )
        v.                      )                      Case No. 1:20-cv-00099-SNLJ
                                )
THE PEOPLE’S REPUBLIC OF CHINA, )
et al.,                         )
                                )
        Defendants.             )

  MOTION OF THE CHINA SOCIETY OF PRIVATE INTERNATIONAL LAW FOR
         LEAVE TO FILE SUPPLEMENTAL AMICUS CURIAE BRIEF

          The China Society of Private International Law (“The Society”), by and through counsel,

respectfully moves for leave to file the attached Supplemental Amicus Curiae Brief

(“Supplemental Brief”) in opposition to Plaintiff The State of Missouri’s Complaint against

Defendants The People’s Republic of China, et al. As argued more fully in the Supplemental Brief,

The Society respectfully requests that this Court dismiss Plaintiff’s remaining hoarding claim sua

sponte.

          The Society is no stranger to this Court because it previously filed a Motion for Leave to

file its initial Amicus Curiae Brief analyzing subject-matter jurisdiction under the Foreign

Sovereign Immunities Act (“FSIA”) and a corresponding Memorandum of Law in Support of the

motion on September 15, 2021. See Motion, ECF No. 32; Brief, ECF No. 34. As described in

greater detail in the Memorandum [ECF No. 32-1], The Society is an academic organization

dedicated to the theory and practice of private international law. The Society has been following

this matter because it has significant implications for the theory and practice of private

international law, the interpretation and application of the FSIA, and China-U.S. relations.




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       This Court granted The Society’s Motion for Leave and accepted the Amicus Curiae Brief

on October 15, 2021. See ECF No. 33. Thereafter, the Court dismissed this case for lack of subject

matter jurisdiction. After Plaintiff’s appeal, the Eighth Circuit partially affirmed and remanded the

case to allow Plaintiff’s claim regarding hoarding of personal protective materials (“PPE”) to

proceed. Thereafter, Plaintiff sought authorization from this Court to conduct discovery to support

default judgment against Defendants. The Court conducted an evidentiary hearing on January 27,

2025 on Plaintiff’s hoarding claim, and directed Plaintiff to provide supplemental briefing, which

Plaintiff filed on February 26, 2025. Given these developments, The Society now seeks to

supplement its initial Amicus Curiae Brief to provide the Court with analysis of issues of law in

the default judgment proceedings.

       The Society submits in the proposed Supplemental Brief that Plaintiff fails to meet the

FSIA’s requirement for entry of default judgment against foreign states that the claimant must

“establish[] his claim or right to relief by evidence satisfactory to the court.” 28 U.S.C. § 1608(e).

The Supplemental Brief submits that instead, the Court should dismiss the remaining hoarding

claim sua sponte. Specifically, the proposed Supplemental Brief addresses that: (1) Plaintiff cannot

establish a claim under Missouri or federal antitrust laws because they do not apply to or impose

any duty on Defendants; (2) Plaintiff fails to present with evidence satisfactory to this Court that

there is an adequate legal and factual basis for any legal nexus between the alleged anticompetitive

acts and the injury to establish its “claim or right to relief” due to numerous independent

intervening causes; and (3) The alleged anticompetitive acts are sovereign acts and should be

deemed valid under the act of state doctrine. The Supplemental Brief also submits that this Court

should not apply the “lenient” evidentiary standard Plaintiff proposes because it derives from

terrorism cases. Further, many trial exhibits set forth by Plaintiff are untrustworthy as inadmissible


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hearsay, which fails to satisfy even a lenient evidentiary standard. Therefore, they should not be

relied upon by this Court in rendering any judgment.

       For these reasons, The China Society of Private International Law respectfully requests

that this Court grant this Motion for leave to file the attached Supplemental Amicus Curiae Brief

and all other relief the Court may deem appropriate.

Dated: February 27, 2025


                                              Respectfully submitted,

                                              WATTERS WOLF BUB & HANSMANN

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing was electronically
filed by using the Court’s electronic filing system to be served on all counsel of record entered in
the case this 27th day of February, 2025.


                                              /s/ Jackie M. Kinder


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